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                UNITED STATES DISTRICT COURT
            FOR THE SOUTHERN DISTRICT OF INDIANA

ANDREW U. D. STRAW,                )
     Plaintiff,                    )
v.                                 )       Case No.: 1:16-cv-3483
INDIANA SUPREME COURT;             )
BRENDA RODEHEFFER;                 )       Hon.
G. MICHAEL WITTE;                  )       Judge Presiding
CHIEF JUSTICE OF INDIANA           )       Hon.
LORETTA RUSH;                      )       Magistrate Judge
LILIA G. JUDSON; AND               )
HEARING OFFICER                    )
JAMES ROBERT AHLER,                )
     Defendants.                   )       Jury Trial Demanded

    VERIFIED COMPLAINT TO PROTECT DISABILITY RIGHTS

I, plaintiff Andrew U. D. Straw, for my Complaint against the
defendants herein, claim that they discriminated against me on the
basis of disability, repeatedly retaliated when I opposed discrimination,
and attempted to prevent me from making commentary protected by
the First Amendment, and so violations of 42 U.S.C. § 1983, 42 U.S.C. §
1985(2) and 1985(3), and imposed intentional infliction of emotional
distress on me by accusing me of disciplinary rule violations without
merit and tried to discipline me outside the time limits in those rules.
The disciplinary rules themselves discriminate on their face.
Defendants had a duty to protect my rights under 42 U.S.C. § 1986, but
failed to do so. For violations of the above laws and ADA Title II and
Rehabilitation Act of 1973, Section 504, I claim relief to compensate me
for violating my right to be free of embarrassment and humiliation,
intimidation and coercion over the last 15 years, and further relief to
complete justice. To wit:




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                           PERSONAL FACTS

1.   I am an attorney, Active in Good Standing through 2017, licensed

in the State of Indiana, Bar# 23378-53. I also have a license in the

Commonwealth of Virginia, VSB# 43651, currently in In Active in Good

Standing Status through 2017.

2.   My Roll of Attorneys entry has contained reference to “pending

discipline” against me since January of 2016.

3.   I have also been licensed to practice law before the Northern and

Southern Districts of Indiana since 2002. I am licensed in the Northern

District of Illinois and the Western District of Wisconsin U.S. District

Courts. I am admitted to the bar of the U.S. Court of Appeals for the

Fourth Circuit.

4.   If the Indiana Supreme Court disciplines me, each of the above

courts has reciprocal discipline rules and if I am suspended in Indiana,

I will receive many orders to show cause why I should not be disciplined

in the same way, and in some cases, the reciprocal discipline is

automatic.

5.   My residence is in Kane County, Illinois. I am an Illinois

registered voter and my residence is 120 S. State Street, Unit 307,


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Elgin, Illinois, 60123. This is public housing. My registered agent and

official office mailing address is located at 1900 E. Golf Rd., Suite 950A,

Schaumburg, IL 60173.

6.   I have a lawsuit against the City of South Bend for city-wide ADA

violations in handicap parking, sidewalks that are broken, and other

access features broken or not provided. Straw v. City of South Bend,

3:16-cv-342-JD-MGG (N.D. Ind.). This case demonstrates my

continuous work for disability access.

7.   When I criticized the City Attorney, Aladean DeRose, with a

website in her name, she sued me in state court. She is in fact the ADA

Coordinator and the Counsel for the South Bend Human Rights

Commission. She retaliated against me for having opposed ADA

violations and associating them with her name. This retaliation is

similar to what the Indiana Supreme Court ADA Coordinator did.

DeRose v. Straw, 71D07-1611-PL-000418 (St. Jos. Cty. Sup. Ct. 7)

8.   I face similar acts of ADA violation and illegal retaliation across

Indiana. I believe the rotten core of this apple is the Indiana Supreme

Court.




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                               DISABILITIES

9.      I have severe physical and mental disabilities from public service.

I hereby incorporate by reference my affidavit regarding disabilities,

Exhibit 4, and all evidence thereof mentioned in that affidavit, Exhibits

5-10.

                    EVIDENCE OF DISCRIMINATION

10.     It is easy to understand the pervasive disability discrimination of

the Indiana Supreme Court and its agencies. One need merely read

and consider the Indiana Supreme Court Attorney Admission and

Discipline Rules.

11.     Rule 23, Section 2(c) explains how people with disabilities are not

welcome to be lawyers in Indiana:

        "(c) Any attorney who becomes disabled by reason of physical or
        mental illness or infirmity or because of the use of or addiction to
        intoxicants or drugs shall be subject to suspension by reason of
        such disability."

        http://www.in.gov/judiciary/rules/ad_dis/

12.     Another example of the inherent disability discrimination and

refusal to provide services is the case management proposal put forward

by Lilia Judson, former state court administrator. No reference to



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disability is provided on the Supreme Court webpage:

http://www.in.gov/judiciary/admin/2666.htm

13.   The lack of any reference to disability or accommodations in this

major new system goes back to when I was still working at the Court:

http://www.in.gov/judiciary/admin/files/jtac-cms-policy-statement.pdf

14.   Unlike the Court and its callous nature, when I worked at the

Supreme Court of Indiana, I reached out to deaf Hoosiers, seeking their

input on my work as a senior staff member of the Court. I appealed to

the Supreme Court’s JTAC committee to provide software to help a

blind trial judge.

15.   I believe the firing and attacks over the years came in part from

my pursuing disability access on my own initiative, as part of my job.

16.   I have complained multiple times to every member of the Indiana

House and Senate via email, and each time I did so was about 150

oppositions to discrimination. I have complained to the Indiana media,

and despite the fact that they are reluctant to run stories against the

Supreme Court, revealing its systematic discrimination, each email to

each media outlet was a new opposition to discrimination. Each




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protected under 42 U.S.C. § 12203 from interference, coercion,

retaliation, and intimidation.

17.   I fully incorporate by reference:

      a. my 2014 Petition for Redress of Grievances (Ex. 11),

      b. the ADA Coordinator’s refusal to provide relief (Ex. 12),

      c. the retaliatory disciplinary complaint issued shortly thereafter

      (Ex. 13),

      d. the verified disciplinary complaint against me (Ex. 14),

      e. the appointment of a hearing officer by the Chief Justice of

      Indiana (Ex. 15),

      f. my answer to the verified complaint against me (Ex. 16),

      g. the CCS Docket sheet showing my many unopposed motions for

      relief over a series of 6 months (Ex. 17),

      h. my copious February 17, 2016, affidavit regarding

      discrimination by the Indiana Supreme Court (Ex. 18),

      i. the Disciplinary Commission’s over 5 months late request for a

      hearing officer report (Ex. 19), and

      j. the illegitimate and discriminating and false hearing officer

      report dated 12/16/2016 (Ex. 20), which attempts to suppress my


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      freedom of speech when I opposed his and others’ disability

      discrimination.

18.   In short, I have experienced 15 years of continuous disability

discrimination since I broke both my legs and pelvis working at that

state supreme court.

19.   In addition, I have experienced a retaliatory disciplinary

complaint filed by the Indiana Supreme Court ADA Coordinator of the

same state supreme court I accused of discrimination since 2001.

20.   Her complaint mentioned my disability from Camp LeJeune

poisoning, and instead of protecting me for my lifetime of injury from

my father’s service, she attacked me.

21.   The officer charged with protecting my disability rights retaliated

against me when I complained about her employer’s discrimination.

22.   Not only have I carried the heavy burden of discrimination since I

came back to work after my car accident, but that Court also forced me

to reveal my Camp LeJeune poisoning disability, bipolar disorder, on

the bar exam application.

23.   I had no criminal history, no ethics problems, and I passed the bar

exam, but my disability was the subject of a hearing and people with


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whom I worked were given information about my disability. This was

outrageous disability discrimination and never compensated.

24.   My lawyer in 2002 told me I should not oppose the Indiana

Supreme Court or my law career would be absolutely ruined. Given

what has happened to me, I would say my career was destined to

decades of interference and ruination no matter if I opposed the

discrimination or not. But once I did oppose it, retaliation increased.

25.   This case is about the disciplinary complaint begun in 2014.

26.   I presented a Petition for Redress of Grievances (a First

Amendment right) to the Clerk of Court for the Indiana Supreme Court

in August of 2014. (Ex. 11). The Clerk refused to even file it, twice,

even though it concerned a former employee and a bar admission

matter.

27.   That Clerk, Kevin Smith, provided my petition to the ADA

Coordinator, who proceeded to do exactly nothing to protect my rights.

(Ex. 12)

28.   The ADA Coordinator, Brenda Rodeheffer, refused to help, but

wrote me an email saying she hoped I would “heal” from the painful

disabilities.


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29.   Her way of helping me “heal” was to file a disciplinary complaint

just days after she received and rejected my Petition complaints about

the Court.

30.   ADA Coordinator Rodeheffer filed this complaint on September 3,

2014. (Ex. 13)

31.   I complained about violations of the ADA when I worked at the

Indiana Supreme Court, including removing my handicap parking

space close to the offices when I still needed it, causing me intense

physical pain daily. (Ex. 18, passim)

32.   The ADA Coordinator gave a copy of her as-yet uninvestigated

disciplinary complaint against me to another lawyer who did not work

for the Indiana Supreme Court, Thomas M. Dixon.

33.   This retaliated and violated my disability privacy yet again, much

like in 2002 when the State Board of Law Examiners held a hearing

about my bipolar disorder in front of people with whom I worked.




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 34.   Mr. Dixon took the disciplinary complaint and filed it in a court

 case for malpractice against me. Sconiers v. Straw, 71D07-1310-CT-

 000265 (St. Jos. Cty. Sup. Ct. 7)1

 35.   In this malpractice case, I never agreed to file a federal lawsuit for

 my former client, but she sued me because I did not. She did not ask

 me to file such a lawsuit when negotiations failed, and I said I would

 not in my representation agreement with her. She had no damages,

 because she kept working at the same place, was given raises each year,

 and her sexual harassment antagonist voluntarily resigned a few

 months after I complained for her to her employer.

 36.   So, my former client received monetary and other benefits because

 of my negotiations work, but she wanted damages on top of that from

 her employer, and from me. This was dishonest because I was under an

 ethical obligation NOT to file a lawsuit unless that service was agreed

 in advance. I received $0 from the many hours I worked on her case,

 and finally ended up with this bogus malpractice suit, supported by the

 Indiana Supreme Court and its ADA Coordinator.



 1

 https://public.courts.in.gov/mycase/#/vw/CaseSummary/eyJ2Ijp7IkNhc2VUb2tlbiI6I
 k1URTJNalF3TmpFeU1qSXhPak14TXpVNE56VXhZVE09In19
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 37.   My insurance company wished to settle the matter when it saw

 Rodeheffer’s disciplinary complaint was placed in the state trial court

 record. The financial injury to me and my insurance happened on or

 about July 15, 2015. I still owe $5,000 in deductible costs.

 38.   I denied the four counts in the Verified Complaint filed by G.

 Michael Witte, Disciplinary Commission Executive Director.

 39.   I filed an answer in response that completely exploded each count,

 each attack on me. (Ex. 16)

 40.   Each one of the counts concerned a disability rights issue or, in

 three cases, an ADA case filing.

 41.   Retaliation against an ADA case filing or opposition to

 discrimination violates 42 U.S.C. § 12203, so on its face, the Verified

 Complaint retaliated at least four times.

 42.   The hearing officer denied every motion I made to protect my

 disability rights, and those ADA rights overrode any provision in the

 rules, since 42 U.S.C. § 12132 & 12203 prevail over any state law.

 There were a multitude of different retaliations and discrimination from

 the hearing officer, Officer Ahler.




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 43.     Indiana Rules of Admission and Discipline provide time limits for

 the hearing officer to submit a report and either support or reject

 punishment. Disciplinary Rule 23, Section 14(i), provided 30 days after

 the May 12, 2016, hearing to submit a report:

         Within thirty (30) days after the conclusion of the hearing, the
         hearing officer shall determine whether misconduct has been
         proven by clear and convincing evidence and shall file with the
         Clerk a written “Hearing Officer’s Report” with findings of fact
         and conclusions of law. Either party may request or the hearing
         officer at his or her own motion may make a recommendation
         concerning the disposition of the case and the discipline to be
         imposed. Such recommendation is not binding on the Supreme
         Court. A copy of the report shall be served by the hearing officer
         on the respondent and the Executive Secretary of the Disciplinary
         Commission at the time the report is filed with the Clerk.2

 44.     Officer Ahler not only did not provide such a report under the

 mandatory time limit, but after Disciplinary Commission lawyer Angie

 Ordway suborned him to make a late report, Officer Ahler filed a report

 on December 16, 2016, over 6 months past the deadline. (Ex. 19 & 20)

 45.     The Disciplinary Commission also had a deadline in the Rules,

 Rule 23, Section 15, which provided 30 days to appeal. That 30-day

 deadline also passed back in July of 2016.




 2   http://www.in.gov/judiciary/rules/ad_dis/#_Toc439239769
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 46.   Ahler criticized my free speech against this process to violate my

 rights, and his attacks on me also constitute retaliation under 42 U.S.C.

 § 12203. His attacks and recommendation to punish me contribute to a

 conspiracy against my rights that has existed since 2001 in the Indiana

 Supreme Court and its agencies. 42 U.S.C. § 1983 and 42 U.S.C. §

 1985(3).

 47.   Ahler should have protected me and dismissed an obviously

 abusive disciplinary complaint, especially when he saw that the attack

 came from the ADA Coordinator after I made a complaint to her. Ahler

 had a duty to protect me under 42 U.S.C. § 1986, and he had the power

 to do so. This is yet another violation.

 48.   The same problem is true of the Chief Justice of Indiana. Loretta

 Rush should have protected me and dismissed an obviously abusive

 disciplinary complaint, especially when she saw that the attack came

 from the ADA Coordinator after I made a complaint to her. Loretta

 Rush had a duty to protect me under 42 U.S.C. § 1986, and she had the

 power to do so. This is yet another violation. She participated in the

 conspiracy under 42 U.S.C. § 1985(3).




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 49.   I filed a response to the proposed discipline (Ex. 21) on December

 19, 2016.

 50.   The disciplinary case against me was transmitted to the Indiana

 Supreme Court on December 21, 2016. (Ex. 17)

 51.   I claim that every discrimination or retaliation or failure to

 protect me and my rights was a separate and actionable ethics violation

 of Indiana Rule of Professional Conduct, Rule 8.4(g).

 52.   When I made complaints against the ADA Coordinator, Attorney

 Dixon, and Lilia Judson, IADC Executive Director G. Michael Witte

 refused to punish the flood of discrimination and attacks against me.

 53.   When I complained against Witte, Lilia Judson then returned him

 the favor, clearing him even though he violated me by not protecting

 me.

 54.   Each refusal to protect me was a violation of 42 U.S.C. § 12203’s

 anti-retaliation mandates. Each refusal to protect me involved Witte in

 an ongoing conspiracy against my rights under 42 U.S.C. § 1985, and

 because he was in a position to protect me rather than attack me, Witte

 violated 42 U.S.C. § 1986.

             STANDING AND OTHER LEGAL ARGUMENTS


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 55.    I have been injured by the burden of an illegitimate and

 retaliatory disciplinary complaint from the ADA Coordinator, who had

 no business filing such a complaint in response to my complaint about

 her boss, the Indiana Supreme Court. 42 U.S.C. § 12203 was passed

 specifically to prevent this type of abuse by a state court or other state

 entity. I have standing because the Indiana Supreme Court injured me

 for fully the last 15 years without remorse. That Court cared nothing

 about the impact on me and my family. (Ex. 18).

 56.    I have standing because the ADA Coordinator, Brenda Rodeheffer,

 attacked me personally in direct response to my complaint petition, and

 this disciplinary process dragged on for 27 months as of December 2016.

 Her explicit refusal to meet with me to discuss discrimination by the

 court where she works renews my standing and makes injury

 continuous from now forward. (Ex. 22)

       COUNT I: INDIANA SUPREME COURT ADA COORDINATOR
        BETRAYAL AND RETALIATION AGAINST PETITION FOR
       REDRESS OF GRIEVANCES FOR DISABILITY VIOLATIONS,
                         42 U.S.C. § 12203

 57.    The ADA Coordinator has no authority or power to retaliate

 against a disabled lawyer who brings issues to her, especially when the

 complaint is about her employer, the Court. Violations of 42 U.S.C. §

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 12203 amount to an indeterminate number for not helping me with the

 over 10 years of problems identified clearly, plus 1 for the actual

 disciplinary complaint that she filed, plus 1 for circulating that

 complaint outside the Court to Attorney Dixon, plus 1 for the sarcastic

 email hoping that I would “heal,” but not mentioning the upcoming 27

 months of investigation she started. I filed the same complaint with the

 entire Indiana state legislature when I filed it with the Court, and this

 action is protected under the First and Fourteenth Amendments, 42

 U.S.C. § 12203, 42 U.S.C. § 1986, and the Indiana Bill of Rights, Section

 31. Also, the ADA Coordinator, Brenda Rodeheffer, has informed me

 that she will not meet with me to discuss disability violations by the

 Court. I am, therefore, shut out of her services as ADA Coordinator.

 That is an additional violation. So, 4 specific violations since 2014, plus

 a large and indeterminate number of violations because she would not

 help me with long-term violations of my disability rights by the Court.

    COUNT II: INDIANA SUPREME COURT ADA COORDINATOR
   DISCRIMINATED BASED ON MY BIPOLAR DISORDER, WHICH
  CAME FROM CAMP LEJEUNE AND JACKSONVILLE NAVAL AIR
                    STATION POISONING

 58.   The ADA Coordinator made a judgment in her disciplinary

 complaint against me that my physical disabilities from breaking both

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 my legs and my pelvis on the way to work at this Court do not affect my

 ability to practice law. Then she made the observation and apparent

 medical diagnosis that my mental disability (bipolar disorder) made me

 incompetent to practice law. (Ex. 13)

 59.   In other words, her discriminatory complaint in retaliation to my

 complaint included an attack on a disability I received from my father’s

 service in the U.S. Marine Corps when he was training for Vietnam.

 My father earned the right for his poisoned children to be treated with

 respect.

 60.   I had a U.S. Navy JAG Code 15 office complaint in 2014 for

 violation of my Federal Tort Claims Act injuries, and I claim Rodeheffer

 retaliated for this.

 61.   In fact, I have filed several U.S. District Court cases for my family

 that were consolidated into the MDL in Georgia. In RE: Camp LeJeune

 Water Contamination, 1:11-md-2218-TWT (N.D. Ga.).

 62.   Taking any action against my Camp LeJeune disabilities is

 retaliation for my opposing poisoning and the attending disabilities,

 death, and discrimination. My work is paving the way for compensation




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 for 200,000 or more family members of 800,000 U.S. Marines, all of

 whom were poisoned and disabled or killed on the base.

 63.   Rodeheffer’s referencing my mental disability from Camp LeJeune

 as a reason to discipline my license represents 1,000,000 violations of 42

 U.S.C. § 12203.

 64.   I should be compensated 1,000,000 times the value of each injury.

 65.   This Rodeheffer disciplinary complaint has shadowed my Camp

 LeJeune cases, and that comment about Camp LeJeune injury making

 me incompetent now has blossomed into a full-blown threat to my

 ability to even take an appeal or protect my other family members, or

 protect the rights of 800,000 U.S. Marines and their poisoned 200,000

 family members.

 66.   This Indiana Supreme Court is interfering in something that is

 much bigger than the entire history of the State of Indiana. It is

 attempting to interfere with justice for the people who ensure that the

 State of Indiana continues to exist.

 67.   The U.S. Marine Corps was established in 1775, and I am the

 child of a U.S. Marine.

 68.   I was born aboard Camp LeJeune U.S. Naval Hospital.


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 69.   I was taught how to walk by a U.S. Marine.

 70.   That ability to walk was continuous until my car accident on the

 way to work at this most ungrateful Indiana Supreme Court.

 71.   My father served in Vietnam and he was decorated for “gallantry

 and heroic action in fighting the enemy.” RVN Cross of Gallantry.

 72.   The small and wicked mind of the ADA Coordinator was

 completely hostile to her purpose and her office. She was determined to

 injure me, not help me as a disabled lawyer. She was determined to

 prevent me from being able to use the ADA to help disabled people. She

 helped me in no way whatsoever, and that shows the attitude of the

 Indiana Supreme Court, which deserves to be punished severely, along

 with its bureaucrats like Brenda Rodeheffer.

 73.   Why even have an ADA Coordinator when no disabled person can

 be a lawyer? Disciplinary Rule 23, Section 2(c). Rodeheffer exemplified

 this fact, and she now refuses to meet with me to talk about disability

 discrimination at that Court. (Ex. 22) I am again singled out for denial

 of services. 42 U.S.C. § 12132, 12203.

 74.   If any action of the Indiana Supreme Court prevents in any way

 whatsoever my work on Camp LeJeune poisoning justice, the State of


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 Indiana must pay the entire amount for me and my family, and every

 other family injured by my inability to act as a lawyer. Just to be clear,

 I am talking about over $25,000,000 in damages that my family seeks in

 total. My brother’s claim is still with Navy JAG Code 15.

 75.   I have informed the U.S. Court of Appeals for the Eleventh Circuit

 that the Indiana Supreme Court is attacking my license because I

 protected disability rights in federal court and I asked the Court of

 Appeals to protect me.

     COUNT III: INDIANA SUPREME COURT’S 15 YEARS OF
  CONTINUOUS DISABILITY-BASED DISCRIMINATION AGAINST
                      ANDREW STRAW

 76.   The Court has continuously injured me since my car accident and

 since it forced me to reveal my Camp LeJeune disability. (Ex. 18)

 77.   That conspiracy over a long time is connected to the

 discrimination and retaliation of today. There is no stopping point.

 This bus has run over me, backed up, run over me again, and continued

 this pattern for 15 years. It violates 42 U.S.C. § 12203 every single time

 that it did so, and the pattern also violates 42 U.S.C. § 12203.

   COUNT IV: 27 MONTHS OF DISABILITY DISCRIMINATION IN
    THE FORM OF AN INTERMINABLE INVESTIGATION, WITH
  DEFAMATION ON STRAW’S ROLL OF ATTORNEYS ENTRY, AND
  AN ATTEMPT TO PUNISH HIM IN HIS LAW LICENSE DESPITE

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  ALL DEADLINES FOR DOING SO HAVING PASSED, CREATING A
                 DUE PROCESS PROBLEM

 78.   The Indiana Supreme Court and its agencies inflicted extreme

 emotional distress on me, causing me mental anguish, physical damage

 to my heart, and has torn me apart for years. I have lived in poverty,

 using food stamps, and lived in public housing. I have been unable to

 see my children for years, and my physical and mental symptoms from

 my public service disabilities have been made worse.

 79.   A forensic psychologist will testify to these injuries and provide

 scientific tests as proof.

 80.   The disciplinary complaint was made in bad faith, to injure me

 and prevent me from being a disability rights attorney.

 81.   The length of the process, over 27 months, was harassment and

 humiliation and it appeared in my Indiana Roll of Attorneys entry in

 January 2016 and continuously thereafter.

 82.   The Due Process clause of the U.S. Constitution’s Fourteenth

 Amendment was thrashed. I had no due process. My motions were

 uniformly denied even though all were justified to protect my disability

 rights. The length of the process violated Due Process. Trying to

 punish me with a report 6 months past the mandatory Rule 23, Section

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 14(i), deadline was also a due process violation. Everything about this

 was a due process violation, and I should be compensated for it.

 COUNT V: HEARING OFFICER REFUSED EVERY MOTION STRAW
  MADE FOR RELIEF, THEN ATTACKED STRAW FOR OBJECTING
 TO THE VIOLATIONS OF HIM, CREATING A FIRST-AMENDMENT
     ISSUE IN ADDITION TO VIOLATION OF 42 U.S.C. § 12203

 83.   The hearing officer refused to allow me to make motions. (Ex. 17).

 He denied every motion, using excuses that did not overcome his

 obligations under the ADA to stop violating me. 42 U.S.C. § 12203. He

 attacked my criticism of this process, and even attacked my statement

 implying I would outlast the Commission staff. I have a right to

 complain and a right to say that I will “bury” the violators and get

 justice at long last. After 15 years with NO JUSTICE, this is a hope I

 cling to like a life raft.

 84.   After another 27 months of harassment and humiliation, I have a

 right to object and even to scream at such people, who have done their

 best to ruin my life. I am a disability rights politician and have filed

 with the Secretary of the U.S. Senate to be the Indiana Disability Party

 candidate for U.S. Senate in 2018. In Re: Andrew Straw, 29D02-1612-

 MI-010994 (Hamilton Cty. Sup. Ct. 2). I can scream my objection to the



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 disability violations against me like any political demonstrator. Like a

 U.S. Senate candidate.

 85.    I think what the Indiana Supreme Court did to me over such a

 long period makes them psychopaths with no conscience or regard for

 my rights. Even after I broke my legs and pelvis going there to work,

 they feel they can attack me incessantly and interfere with my

 disability rights work.

 86.    I say to hell with the violators, all of them, and I demand justice

 now.

 87.    Hearing Officer Ahler and the others are like the concentration

 camp operators expressing “concern” about their victims’ anger and

 their “opinions.” He should be afraid of me. He should be afraid that I

 will use the law, something he proved he knows nothing about, and get

 justice against him. I want his judicial commission to be stripped.

 88.    I am asking lady justice, blind like I am when I have a Camp

 LeJeune migraine, to bury him and his co-conspirators with her sword

 of justice.

 89.    My social worker over here in Elgin, Illinois, remarked to me last

 week that no single person, and certainly not a person with the heavy


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 burden of disabilities I have, should be subject to such vicious and

 constant discrimination over so many years.

 90.   But that’s precisely what I deal with. I have a serious mental

 illness caused by the federal government poisoning me, and the proof

 that I manage it well is the fact that I use the justice system and this

 Court to pursue my rights and not some private means that would be

 illegal.

 91.   I don’t believe in vigilante justice. I do believe in free speech

 against wicked government that has no remorse. I believe in law.

 92.   I want the judges of this nation to finally protect me, and I will

 keep asking until I reach a complete dead end.

 93.   And when I reach that dead end, I will be asking for justice from

 our political system and the People, because I don’t believe Americans

 are even aware of the callous people that run the Indiana Supreme

 Court.

 94.   I intend to make them aware by using my freedom of speech.

 95.   If I say they are jerks and provide the public with evidence, the

 public office psychopaths must bite their tongues because my ancestors




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 fought in our Revolutionary War and gave us rights like freedom of

 speech.

 96.   Nothing the hearing officer said justified his abuse of me by

 denying me the right to make motions, and the right to expect him to

 obey the disciplinary rules, which he did not. I had a right for him to

 recommend the case be dropped, and that was his opportunity to protect

 me, as mandated by 42 U.S.C. § 1986, when he saw the conspiracy

 arrayed against me. Every refusal to grant my motions was a new 42

 U.S.C. § 12203 retaliation and the denial of the services of the Indiana

 Supreme Court that commissioned him, violations of 42 U.S.C. § 12132.

 97.   His fear of retribution from the other conspirators was no excuse.

 He had a duty to protect me and he failed.

   COUNT VI: CONSPIRACY TO VIOLATE FEDERAL DISABILITY
  RIGHTS, 42 U.S.C. § 1985(3), CONSTITUTIONAL RIGHTS UNDER
 AMENDMENTS V, IX, AND XIV, 42 U.S.C. § 1983, AND FAILURE TO
 PROTECT STRAW WHEN THE JUSTICES AND ALL OFFICERS OF
 THE INDIANA SUPREME COURT HAD A DUTY TO PROTECT HIM
         FROM HARASSMENT UNDER 42 U.S.C. § 1986.

 98.   My constitutional protections under the First, Fifth, Ninth, and

 Fourteenth Amendments to the U.S. Constitution were treated as void

 before the agencies of the Indiana Supreme Court.



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 99.   My reputation and ability to have a career as a disability rights

 lawyer has been under attack for 15 years. This Court has repeatedly

 lied about me publicly and online in the Indiana Judicial Service

 Report. This discipline has been public also, attached to my Indiana

 Roll of Attorneys entry. This Court has inflicted severe emotional

 distress on me with no remorse.

 100. The five Indiana Supreme Court justices and every employee of

 the Court in a position to help me had a duty to help me, not oppose me

 and violate me by allowing the retaliation tidal wave to continue. Every

 one of the employees who hurt me and violated the law should be

 removed. Every Indiana Supreme Court justice who failed to protect

 me should be removed by this Court.

 101. The new governor should be directed to only appoint justices who

 make a public statement in favor of robust disability rights under state

 and federal law. The new justices must publicly renounce using the

 disciplinary system to hurt disabled lawyers like me.

     COUNT VII: REFUSAL OF DISCIPLINARY COMMISSION
      CHAIRMAN G. MICHAEL WITTE AND STATE COURT
   ADMINISTRATOR LILIA GEORGIEV JUDSON TO ENFORCE
 INDIANA RULE OF PROFESSIONAL CONDUCT, RULE 8.4(g), WAS
       DISABILITY DISCRIMINATION OR RETALIATION


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                           IN EACH INSTANCE

 102. Every refusal by Michael Witte and Lilia Judson to enforce Rule

 8.4(g) was retaliation under 42 U.S.C. § 12203 and refusal to provide

 the services of the Disciplinary Commission, 42 U.S.C. § 12132. Every

 person who refused to enforce Rule 8.4(g) must be punished now.

                   COUNT VIII: INJUNCTION RELIEF

 103. I demand that the Indiana Supreme Court issue an official

 apology.

 104. I demand that the falsehoods omitting me from the employee

 roster be remedied in the 2001 and 2002 Indiana Judicial Service

 Reports.

 105. I demand that everyone involved in disciplining me and all those

 who knew about it without helping me be removed from office. This

 includes all the agency heads and the five justices themselves.

 106. I demand that the Indiana Supreme Court be required to

 renounce its Disciplinary Commission’s attempt to discipline me for

 opposing disability rights violations. In the Matter of Andrew U. D.

 Straw, 98S00-1601-DI-00012. Since discipline is an administrative

 matter, the ADA may be applied to it.


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 107. I demand that the Indiana Supreme Court immediately create a

 commission for Disability Rights and Fairness, with the power to

 override and punish any employee of the Court, and provide regular

 audits and reports on disability rights in the judicial branch, from small

 claims court to Chief Justice. This Commission should report to the

 federal court, not to the Indiana Supreme Court, which has been so

 inundated with disability violations that it cannot be trusted to monitor

 an agency that monitors it. I ask to be appointed as the chairman and

 choose all of the members. I ask compensation at $200,000 per year, to

 be paid by the State of Indiana.

 108. I ask pre-emptive injunctive relief to prevent the Indiana Supreme

 Court from disciplining me in my law license in any way, either now or

 in the future. I will make a separate motion for a temporary

 restraining order also.

 109. I ask any other relief this Court may deem appropriate to remedy

 such entrenched, long-standing disability violations and total lack of

 remorse by the Indiana Supreme Court.




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                          PRAYER FOR RELIEF

 110. I demand compensation for each act of retaliation under 42 U.S.C.

 § 12203, taken in their fullest possible sense, since I have proven a

 conspiracy against disability rights, directed against me as a former

 employee of that Court, after I was physically mangled on the way to

 work there. Barnes v. Gordon, 536 U.S. 181 (2002) provides for

 compensatory damages in ADA, Title II, cases and Rehabilitation Act of

 1973, Section 504, cases and I ask the full amount of available

 compensatory damages due to the exclusion and emotional injuries I

 have sustained. I seek compensatory damages for refusing to provide

 me services. 42 U.S.C. § 12132. The above series of retaliations and

 refusals to provide service in combination with the reference to my

 Camp LeJeune disability justify considering this case as being about

 many violations indeed. I seek $5,000 per violation in compensatory

 damages against each person responsible and the Court itself.

 111. To the extent that the above facts demonstrate intentional

 infliction of emotional distress, I see full compensatory and punitive

 damages for it against each person responsible and the Court itself.




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 112. I seek compensatory and punitive damages as may be available

 and appropriate under the various civil rights counts, especially under

 42 U.S.C. § 1983, 42 U.S.C. § 1985(3), and 42 U.S.C. § 1986. I seek

 three times compensatory damages as punitive damages. I seek these

 damages against each person responsible and the Court itself.

 113. I seek at a minimum $5,000,000 in compensatory damages, plus

 punitive damages.

 114. I seek injunctive relief as the Court deems fit, per Count VIII.

 115. I ask any other relief that this Court and a jury may deem fit

 under the circumstances.

                       JURISDICTION AND VENUE

 116. This Court has jurisdiction over this action under 28 U.S.C. §

 1331, as it contains federal questions based on the Americans with

 Disabilities Act, Title II, and the Rehabilitation Act of 1973, Section

 504, also known as 29 U.S.C. § 794, and the First and Fifth and Ninth

 Amendments of the U.S. Constitution, as incorporated by the

 Fourteenth Amendment, plus Due Process rights and federal actions

 under 42 U.S.C. § 1983, the 42 U.S.C. § 1985(3), and 42 U.S.C. § 1986.




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 117. Venue properly lies in the Southern District of Indiana under 28

 U.S.C. §1391(b), as a substantial part of the events giving rise to this

 action occurred within this district.

 I, Attorney Andrew U. D. Straw, certify that to the best of my
 knowledge, information, and belief, formed after an inquiry reasonable
 under the circumstances, that the above statements and factual
 representations are true and correct under penalty of perjury.

 Respectfully submitted,

 s/ ANDREW U. D. STRAW

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 andrew@andrewstraw.com

 December 25, 2016




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                       CERTIFICATE OF SERVICE

 I, Andrew U. D. Straw, certify that I filed the above COMPLAINT and
 EXHIBITS and CIVIL COVER SHEET and SUMMONS FORMS and
 IFP MOTION with EXHIBIT with the Clerk of this Court via the
 Court's CM/ECF system on December 25, 2016 and this will be served
 on all attorneys of record as well as permanently available through
 Pacer.gov. I will provide a copy via email to the office of the Attorney
 General of the State of Indiana, Ms. Betsy Isenberg,
 Betsy.Isenberg@atg.in.gov. I have moved as part of my initiating
 documents for the Court to direct the U.S. Marshall Service to serve my
 complaint, given my request for IFP status.

 Respectfully submitted,

 s/ ANDREW U. D. STRAW
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 December 25, 2016




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